          IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF MISSOURI
                        WESTERN DIVISION

UNITED STATES OF AMERICA,        )
                                 )
           Plaintiff,            )
                                 )   Criminal Action No.
     v.                          )   05-00344-02-CR-W-ODS
                                 )
STEVEN SANDSTROM,                )
                                 )
           Defendant.            )

               REPORT AND RECOMMENDATION TO DENY
     DEFENDANT’S MOTION TO DISMISS COUNTS ONE THROUGH SIX
                     BASED ON MULTIPLICITY

      Before the court is defendant’s motion to dismiss

counts one through six on the ground that they are

multiplicitous.   I find that (1) counts one and three are

not multiplicitous because Congress intended multiple

punishments for multiple acts of interference with federally

protected activities; (2) counts three and five are not

multiplicitous because each requires proof of an element

that the other does not; and (3) counts two, four, and six

are not multiplicitous because each firearm count has a

separate predicate offense.     Therefore, defendant’s motion

to dismiss counts one through six on the ground of

multiplicity should be denied.

I.   BACKGROUND

      On September 29, 2005, an indictment was returned

charging defendant with two counts of interference with




 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 1 of 14
federally protected activities, in violation of 18 U.S.C. §

245(b)(2)(B); one count of using or discharging a firearm

during a crime of violence, in violation of 18 U.S.C. §

924(c)(1)(A)(iii); two counts of using or discharging a

firearm during a crime of violence causing murder, in

violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) and (j)(1); one

count of tampering with a witness, in violation of 18 U.S.C.

§§ 1512(a)(1)(C) and (a)(3)(A); one count of obstruction of

justice, in violation of 18 U.S.C. § 1519; one count of

using fire to commit a felony, in violation of 18 U.S.C. §

844(h)(1); and one count of threatening to retaliate against

a federal witness, in violation of 18 U.S.C. § 1513(b)(2).

Defendant filed the instant motion to dismiss the indictment

on March 14, 2006 (document number 60).

      On April 14, 2006, the government filed a response to

defendant’s motion (document number 100).          The government

argues that even though there will be substantial evidence

overlap among counts one through six, each count either

charges a separate act or requires proof of different facts.

II.   MULTIPLICITY

      The term “multiplicity” refers to the charging of a

single offense in several counts.        United States v. Worthon,

315 F.3d 980, 983 (8th Cir. 2003); United States v. Dixon,

                                 2




 Case 4:05-cr-00344-DGK   Document 120    Filed 05/11/06   Page 2 of 14
921 F.2d 194, 195 (8th Cir. 1990); United States v.

Kazenbach, 824 F.2d 649, 651 (8th Cir. 1987).             The vice of

this practice is that multiple sentences may result, or it

may suggest to the jury that the defendant committed more

than one crime.   United States v. Dixon, 921 F.2d at 195.

Counts one and three

     Count one of the indictment reads as follows:



               On or about March 9, 2005, in Kansas City,
          Jackson County, in the Western District of
          Missouri, defendants, GARY EYE and STEVEN
          SANDSTROM, while aiding and abetting one another,
          did willfully, by force and threat of force,
          attempt to injure, intimidate and interfere with
          William McCay, an African-American man, by
          shooting at him with a firearm, because of William
          McCay’s race and color, and because he was and had
          been enjoying a facility provided and administered
          by a subdivision of the State of Missouri, namely,
          the public streets provided and administered by
          the City of Kansas City, in and around 9th Street
          and Spruce Avenue. The commission of this offense
          included the use of a dangerous weapon.
               All in violation of Title 18, United States
          Code, Section 245(b)(2)(B) and Section 2.

Count three of the indictment reads as follows:

               On or about March 9, 2005, in Kansas City,
          Jackson County, in the Western District of
          Missouri, defendants, GARY EYE and STEVEN
          SANDSTROM, while aiding and abetting one another,
          did willfully, by force and threat of force,
          injure, intimidate and interfere with William
          McCay, an African-American man, by shooting him
          with a firearm, because of William McCay’s race
          and color, and because he was and had been

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 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06    Page 3 of 14
          enjoying a facility provided and administered by a
          subdivision of the State of Missouri, namely, the
          public streets provided and administered by the
          City of Kansas City, in and around 9th Street and
          Brighton Avenue. The commission of this offense
          involved the use of a dangerous weapon and
          resulted in the death of William McCay.
               All in violation of Title 18, United States
          Code, Section 245(b)(2)(B) and Section 2.

     When the same statutory violation is charged twice, the

question is whether Congress intended the facts underlying

each count to make up a separate unit of prosecution. United

States v. Chipps, 410 F.3d 438, 447 (8th Cir. 2005), (citing

Bell v. United States, 349 U.S. 81, 83-84 (1955)).           The unit

of prosecution is the aspect of criminal activity that

Congress intended to punish.

     Whether counts one and three are multiplicitous depends

on whether Congress intended to punish interference with

federally protected activities as a course of conduct, such

that the first bit of interference (the shot at 9th and

Spruce) is part of the second bit of interference (the shot

at 9th and Brighton which killed Mr. McCay), or whether

Congress sought to punish separately individual acts within

an episode.    United States v. Chipps, 410 F.3d at 448.

     United States v. Page, 84 F.3d 38 (1st Cir. 1996), is

instructive.   In that case, the defendants, Adams and Page,

accosted three Mexicans -- Gonzales, Luna, and Valenzuela --

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 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 4 of 14
as they were about to enter a convenience store, calling

them “f---ing Mexicans” who should go back to Mexico where

they belonged, and offering to send them back in a body bag.

All of the men jumped in their cars and took off, with Adams

and Page chasing Gonzales, Luna, and Valenzuela.           At Adams’s

urging, Page fired seven shots from a gun into the air,

fired twice into the car, and fired twice at the ground

behind the car.    One bullet struck Luna in the arm, and

another bullet lodged in the headrest behind Gonzales’s

head.    Although the issue in that case dealt with

application of the Sentencing Guidelines, the court analyzed

§ 245(b) as follows:

        We find nothing in the statutory language to support
        reading the penalty provision of § 245(b) to permit
        enhancement only in the cases of bodily injury to the
        intended victim of the particular offense. Nor is
        there anything indicating an intent to restrict penalty
        enhancement to a single count when multiple counts
        aimed at several individuals end up causing but a
        single bodily injury. . . . The [district] court found
        that the offense behavior underlying both counts
        included two bullets aimed directly at the car -- that
        only Luna was physically injured is immaterial to the
        conclusion that the violations of both Luna’s and
        Gonzales’s civil rights each “resulted” in the bodily
        injury sustained by Luna, rendering both counts subject
        to penalty enhancement under § 245(b).

        In addition, the legislative history supports the

charging of two counts as was done in this indictment.             The

Senate Judiciary Committee Report on the history of the bill

                                 5




 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 5 of 14
explained the graduated penalty provision, noting that

Congress intended to punish the offender even if the victim

was not harmed:

     If no one is actually harmed, penalties are limited to
     a $1,000 fine and 1 year imprisonment; if bodily injury
     results, the maximum penalties are a $10,000 fine and
     10 years imprisonment; and if death results, the
     defendant is subject to imprisonment for any term of
     years or for life.

S. Rep. No. 721, 90th Cong., 2d Sess. (Nov. 2, 1967),

reprinted in 1968 U.S.C.C.A.N. 1837, 1846.         Furthermore,

Congress removed the word “serious” from the bill appearing

before “bodily injury” because “it is believed that judging

the seriousness of an injury would . . . in many instances

bear no meaningful relationship to the gravity of the

offense.”   Id.

     It is clear, then, that Congress viewed a threat with

no bodily injury to be an offense under § 245(b).           In

addition, the Court of Appeals in Page interpreted § 245(b)

to punish a threat that did not result in any bodily injury

in addition to one that did.     Therefore, I find that §

245(b) as charged in count one -- shooting at Mr. McCay in

the area of 9th Street and Spruce Avenue -- to be a separate

offense from § 245(b) as charged in count two -- shooting

Mr. McCay in the area of 9th Street and Brighton Avenue


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 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 6 of 14
resulting in his death.     These two counts, therefore, are

not multiplicitous.

Counts three and five.

     Count three of the indictment reads as follows:

               On or about March 9, 2005, in Kansas City,
          Jackson County, in the Western District of
          Missouri, defendants, GARY EYE and STEVEN
          SANDSTROM, while aiding and abetting one another,
          did willfully, by force and threat of force,
          injure, intimidate and interfere with William
          McCay, an African-American man, by shooting him
          with a firearm, because of William McCay’s race
          and color, and because he was and had been
          enjoying a facility provided and administered by a
          subdivision of the State of Missouri, namely, the
          public streets provided and administered by the
          City of Kansas City, in and around 9th Street and
          Brighton Avenue. The commission of this offense
          involved the use of a dangerous weapon and
          resulted in the death of William McCay.
               All in violation of Title 18, United States
          Code, Section 245(b)(2)(B) and Section 2.

     Count five of the indictment reads as follows:

               On or about March 9, 2005, in the Western
          District of Missouri, the defendants, GARY EYE and
          STEVEN SANDSTROM, while aiding and abetting one
          another, did knowingly kill William McCay with the
          intent to prevent William McCay from communicating
          to a law enforcement officer of the United States
          information related to the commission or possible
          commission of a federal offense, that is, the
          interference with his free exercise and enjoyment
          of a right secured to him by the laws and the
          Constitution of the United States, namely, his
          right to the use and enjoyment of a public
          facility, the public streets provided and
          administered by the City of Kansas City, Missouri,
          free from intimidation based upon race and color.
          The death of William McCay involved circumstances

                                 7




 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 7 of 14
          constituting murder as defined in Title 18, United
          States Code, Section 1111, in that defendants GARY
          EYE and STEVEN SANDSTROM unlawfully killed William
          McCay willfully, deliberately, and with
          premeditation and aforethought.
               All in violation of Title 18, United States
          Code, Section 1512(a)(1)(C), (a)(3)(A) and Section
          2.

     As discussed above, count three charges a violation of

18 U.S.C. § 245(b)(2)(B) for shooting William McCay

resulting in his death because of his race and because he

was enjoying the public streets.         Count five charges that

the same conduct also violates 18 U.S.C. §§ 1512(a)(1)(C)

and (A)(3)(A), i.e., killing Mr. McCay to prevent him from

reporting to law enforcement that defendants interfered with

his right to enjoy the public streets.

     When the same conduct violates two different statutes,

courts use the “same elements” test of Blockburger v. United

States, 284 U.S. 299, 304 (1932), which held that charged

counts are not multiplicitous if each count requires proof

of an element that the other count does not require.              United

States v. Walker, 380 F.3d 391, 394 (8th Cir. 2004); United

States v. Peterson, 867 F.2d 1110, 1115 (8th Cir. 1989).

     In order to establish a violation of § 245(b), the

government must prove that defendant (1) used force or a

threat of force to willfully injure, intimidate, or


                                 8




 Case 4:05-cr-00344-DGK   Document 120     Filed 05/11/06   Page 8 of 14
interfere with, or attempt to injure, intimidate, or

interfere with William McCay (3) because of his race, and

(4) because McCay was enjoying the public streets of Kansas

City, Missouri.   See 18 U.S.C. § 245(b)(2)(B); United States

v. Nelson, 277 F.3d 164, 185-186 (2nd Cir.), cert. denied,

173 U.S. 835 (2002); United States v. Lane, 883 F.2d 1484,

1495 (10th Cir. 1989), cert. denied, 493 U.S. 1059 (1990).

     In order to establish a violation of § 1512(a)(1)(C),

the government must prove that defendant (1) knowingly

killed William McCay, and (2) defendant did so with intent

to prevent communication with federal law enforcement

officials regarding a federal offense.        See Eighth Circuit

Model Criminal Jury Instruction 6.18.1512.

     Using the Blockburger analysis, it is clear that counts

three and five are not multiplicitous.        Count three requires

the government to prove race as a motivating factor and

McCay’s use of the public streets as a motivating factor.

Count five does not require proof of those elements.            Count

five requires proof that defendant intended to prevent

communication about a federal crime to law enforcement, but

count three does not require proof of such an intent.

Therefore, because each count requires proof of an element



                                 9




 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 9 of 14
that the other does not, counts three and five are not

multiplicitous.

Counts two, four, and six.

     Count two of the indictment reads as follows:

                On or about March 9, 2005, in Kansas City,
           Jackson County, in the Western District of
           Missouri, defendants, GARY EYE and STEVEN
           SANDSTROM, while aiding and abetting one another,
           knowingly used, carried, and discharged; and
           caused to be used, carried, and discharged, a
           firearm, namely a .22 caliber revolver, during and
           in relation to a crime of violence for which they
           may be prosecuted in a court of the United States,
           that is, the offense charged in Count One of the
           Indictment and incorporated herein by reference.
                All in violation of Title 18, United States
           Code, Section 924(c)(1)(A)(iii) and Section 2.

     Count four of the indictment reads as follows:

                On or about March 9, 2005, in Kansas City,
           Jackson County, in the Western District of
           Missouri, defendants, GARY EYE and STEVEN
           SANDSTROM, while aiding and abetting one another,
           knowingly used, carried, and discharged; and
           caused to be used, carried, and discharged, a
           firearm, namely a .22 caliber revolver, during and
           in relation to a crime of violence for which they
           may be prosecuted in a court of the United States,
           that is, the offense charged in Count Three of the
           Indictment and incorporated herein by reference.
           In committing this offense, defendants, GARY EYE
           and STEVEN SANDSTROM, caused the death of William
           McCay through the use and discharge of said
           firearm. The death of William McCay involved
           circumstances constituting murder as defined in
           Title 18, United States Code, Section 1111, in
           that defendants GARY EYE and STEVEN SANDSTROM
           unlawfully killed William McCay willfully,
           deliberately, and with premeditation and malice
           aforethought.

                                 10




 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 10 of 14
                All in violation of Title 18, United States
           Code, Section 924(c)(1)(A)(iii), (j)(1), and
           Section 2.

     Count six of the indictment reads as follows:

                On or about March 9, 2005, in Kansas City,
           Jackson County, in the Western District of
           Missouri, defendants, GARY EYE and STEVEN
           SANDSTROM, while aiding and abetting one another,
           knowingly used, carried, and discharged; and
           caused to be used, carried, and discharged, a
           firearm, namely a .22 caliber revolver, during and
           in relation to a crime of violence for which they
           may be prosecuted in a court of the United States,
           that is, the offense charged in Count Five of the
           Indictment and incorporated herein by reference.
           In committing this offense, defendants, GARY EYE
           and STEVEN SANDSTROM, caused the death of William
           McCay through the use and discharge of said
           firearm. The death of William McCay involved
           circumstances constituting murder as defined in
           Title 18, United States Code, Section 1111, in
           that defendants GARY EYE and STEVEN SANDSTROM
           unlawfully killed William McCay willfully,
           deliberately, and with premeditation and malice
           aforethought.
                All in violation of Title 18, United States
           Code, Section 924(c)(1)(A)(iii), (j)(1), and
           Section 2.

     When the same statutory violation is charged more than

once, the question is whether Congress intended the facts

underlying each count to make up a separate unit of

prosecution. United States v. Chipps, 410 F.3d at 447,

(citing Bell v. United States, 349 U.S. at 83-84).            The unit

of prosecution is the aspect of criminal activity that

Congress intended to punish.


                                 11




 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 11 of 14
     Whether counts two, four, and six are multiplicitous

depends on whether Congress intended to punish carrying or

using a firearm in relation to multiple violent crimes as a

single course of conduct, or whether Congress sought to

punish separately individual acts of carrying or using a

firearm within an episode.      United States v. Chipps, 410

F.3d at 448.

     Because of the Double Jeopardy Clause’s prohibition on

multiple punishments, a court may not impose more than one

sentence upon a defendant for violations of section 924(c)

which involve one gun and relate to but one predicate

offense. United States v. Allee, 299 F.3d 996, 1003 (8th

Cir. 2002).    Courts have upheld multiple convictions and

sentences under 18 U.S.C. § 924(c)(1) “so long as such

convictions are based on separate predicate acts.”            Id.

(separate 924(c) convictions for carrying a firearm during a

robbery and carjacking); United States v. Davis, 103 F.3d

660 (8th Cir. 1996) (three bank robberies, two of them five

minutes apart, resulted in three 924(c) convictions);

United States v. Burnette, 170 F.3d 567, 572 (6th Cir.),

cert. denied, 528 U.S. 908 (1999) (“It is now firmly

established that the imposition of separate consecutive

sentences for multiple § 924(c) violations occurring during

                                 12




 Case 4:05-cr-00344-DGK   Document 120   Filed 05/11/06   Page 12 of 14
the same criminal episode are lawful.”); United States v.

Parker, 23 F.3d 409 (6th Cir. 1994) (multiple counts of

924(c) not multiplicitous when predicate offenses were drug

conspiracy (21 U.S.C. § 846) and possession with intent to

distribute cocaine (21 U.S.C. § 841)).

     What constitutes a separate use of a firearm in

relation to a crime of violence is a question of fact.

United States v. Canterbury, 2 F.3d 305, 306 (8th Cir.

1993).   The government has the burden of proving separate,

prohibited uses of a firearm to support each charge of

violating § 924(c).       Id.

     As discussed above, counts one, three, and five are not

multiplicitous and are all separate prosecutable predicate

offenses.   Therefore, the three 924(c) charges for carrying

or using a firearm in relation to each of those three crimes

of violence are not multiplicitous.

III. CONCLUSION

     Because (1) Congress intended multiple punishments for

multiple instances of interference with federally protected

activity, (2) counts three and five each require proof of an

element that the other does not, and (3) multiple charges of

using or carrying a firearm during a crime of violence are



                                  13




 Case 4:05-cr-00344-DGK    Document 120   Filed 05/11/06   Page 13 of 14
permissible when there are multiple predicate offenses, it

is

     RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendant’s motion to dismiss counts one through six

of the indictment on the ground of multiplicity.

     Counsel are advised that, pursuant to 28 U.S.C. §

636(b)(1), each has ten days from the date of receipt of a

copy of this report and recommendation to file and serve

specific objections.



                                      /s/ Robert E. Larsen
                                  ROBERT E. LARSEN
                                  United States Magistrate Judge

Kansas City, Missouri
May 11, 2006




                                 14




 Case 4:05-cr-00344-DGK   Document 120    Filed 05/11/06     Page 14 of 14
